     Case 3:16-cv-00545-REP Document 64 Filed 10/21/16 Page 1 of 3 PageID# 550




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division                      OCT 2 I 2016
                                                                  CLERK, U.S. DISTR1CT COURl
                                                                        RICHMOND, VA
STEVES AND SONS, INC.,

       Plaintiff,

v.                                         Civil Action No. 3:16cv545

JELD-WEN I INC. I

       Defendant.



                                      ORDER


       Having considered DEFENDANT JELD-WEN, INC.'S MOTION TO DISMISS

COUNT ONE OF PLAINTIFF STEVES AND SONS, INC.' S COMPLAINT FOR FAILURE

TO STATE A CLAIM ( ECF No. 20) , the supporting and opposing memoranda,

it is hereby ORDERED that the motion is denied because considering

the Complaint as a whole, which JELD-WEN, Inc.' s ( "JELD-WEN") motion

does not,       the Complaint clearly and specifically alleges facts,

which, if proved, plausibly show (a) violations of Section 7 of the

Clayton Act; and (b) casually connected harm to the plaintiff of the

type that Section 7 is intended to prevent within the meaning of

Section 4 and Section 16 of the Clayton Act; because the Complaint

alleges facts, which if proved, plausibly establish violation of

Section     7    by    the   merger   between   JELD-WEN   and   Craftmaster

Manufacturing,        Inc.   causing higher prices for doors kins,       lower

quality for doorskins, reduced output of doorskins, and increased
     Case 3:16-cv-00545-REP Document 64 Filed 10/21/16 Page 2 of 3 PageID# 551




coordination between the two remaining doors kins suppliers, JELD-WEN

and Masonite, Inc. ("Masonite"); and because the Complaint alleges

that the merger already has caused those anti-competitive effects

which are alleged to harm the plaintiff or other door manufacturers

and consumers; because the Complaint clearly articulates how the

challenged merger currently is significantly hindering the ability

of the plaintiff to compete in the market of interior molded doors

by increasing costs and reducing the quality of doorskins sold to

the plaintiff, making it more difficult for the plaintiff to compete

for the sale of doors; because the Complaint alleges that the merger

has reduced the supply of doorskins to the plaintiff thereby further

hampering its ability to compete in the downstream of market for doors

and describes that impairment to competition in various ways; because

the Complaint alleges that, as a consequence of the merger and the

conduct of JELD-WEN and Masonite, JELD-WEN will be able completely

to    foreclose   the plaintiff competing in the doors market and

potentially will enable JELD-WEN to drive the plaintiff out of

business; because the Complaint alleges that the 2012 merger by

eliminating one of only three suppliers then in the market, by

enhancing JELD-WEN's market power, and by increasing the ability of

JELD-WEN and Masonite (the remaining supplier) to coordinate, and

the fact of coordination having increased costs, reduced quality and

reduced output of doorskins available to the plaintiff; because it
                                       2
   Case 3:16-cv-00545-REP Document 64 Filed 10/21/16 Page 3 of 3 PageID# 552




is not the obligation of the plaintiff in preparing the Complaint

to negate any possible affirmative defense, in this instance, laches;

and because the issue of laches is a factual one that is inappropriate

for resolution under Rule 12(b) (6).

     It is further ORDERED that the facts and legal contentions are

adequately presented in the materials before the Court and oral

argument would not aid the decisional process.

     It is so ORDERED.

                                                  Isl       f/;f
                                  Robert E. Payne
                                  Senior United States District Judge




Richmond, Virginia
Date: October ~, 2016




                                     3
